      Case 4:25-cv-00761      Document 1       Filed on 02/21/25 in TXSD         Page 1 of 19




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


SALVADOR SEGOVIA, JR.,                               )
                                                     )
                              Plaintiff,             )
                                                     )        CIVIL ACTION
vs.                                                  )
                                                     )        Case No. 4:25-CV-00761
GARZA’S HOME RENTAL INC.,                            )
                                                     )
                              Defendant.             )

                                            COMPLAINT

        COMES NOW, SALVADOR SEGOVIA, JR., by and through the undersigned counsel,

and files this, his Complaint against Defendant, GARZA’S HOME RENTAL INC., pursuant to

the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the ADA’s

Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”).              In support thereof, Plaintiff

respectfully shows this Court as follows:

                                           JURISDICTION

        1.     This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§ 1331

and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon Defendant’s

failure to remove physical barriers to access and violations of Title III of the ADA.

                                             PARTIES

        2.     Plaintiff, SALVADOR SEGOVIA, JR. (hereinafter “Plaintiff”) is, and has been at

all times relevant to the instant matter, a natural person residing in Houston, Texas (Harris

County).

        3.     Plaintiff is disabled as defined by the ADA.




                                                 1
    Case 4:25-cv-00761          Document 1       Filed on 02/21/25 in TXSD        Page 2 of 19




        4.       Plaintiff is required to traverse in a wheelchair and is substantially limited in

performing one or more major life activities, including but not limited to: walking and standing.

        5.       Plaintiff uses a wheelchair for mobility purposes.

        6.       In addition to being a customer of the public accommodation on the Property,

Plaintiff is also an independent advocate for the rights of similarly situated disabled persons and

is a “tester” for the purpose of enforcing Plaintiff’s civil rights, monitoring, determining and

ensuring whether places of public accommodation are in compliance with the ADA. His

motivation to return to a location, in part, stems from a desire to utilize ADA litigation to make

Plaintiff’s community more accessible for Plaintiff and others; and pledges to do whatever is

necessary to demonstrate the plausibility of Plaintiff returning to the Property once the barriers to

access identified in this Complaint are removed in order to strengthen the already existing

standing to confer jurisdiction upon this Court so an injunction can be issued correcting the

numerous ADA violations on this property. (“Advocacy Purposes”).

        7.       Defendant, GARZA’S HOME RENTAL INC. (hereinafter “GARZA’S HOME

RENTAL INC.”), is a Texas company that transacts business in the State of Texas and within

this judicial district.

        8.       Defendant, GARZA’S HOME RENTAL INC., may be properly served with

process for service via its Registered Agent, to wit: c/o Federico Garza Lozano, Registered

Agent, 11811 Canyon Mills Drive, Houston, TX 77095.

                                   FACTUAL ALLEGATIONS

        9.       On or about October 26, 2024, Plaintiff was a customer at “El Mexsal Taqueria,”

a Mexican restaurant located at 5795 N Sam Houston Parkway E, Houston, TX                    77032,

referenced herein as “El Mexsal”. Attached is a receipt documenting Plaintiff’s purchase. See



                                                  2
   Case 4:25-cv-00761         Document 1         Filed on 02/21/25 in TXSD        Page 3 of 19




Exhibit 1. Also attached is a photograph documenting Plaintiff’s visit to the Property. See

Exhibit 2.

       10.     On or about February 2, 2025, Plaintiff drove to the Property to be a customer of

El Mexsal Taqueria, but was unable to find an available accessible parking space and was

dissuaded from again being a customer of El Mexsal Taqueria due to the barriers to access

present at the Property.

       11.     Defendant, GARZA’S HOME RENTAL INC., is the owner or co-owner of the

real property and improvements that El Mexsal is situated upon and that is the subject of this

action, referenced herein as the “Property.”

       12.     Plaintiff lives 3 miles from the Property.

       13.     Given the close vicinity of the Property to the Plaintiff’s residence, Plaintiff often

travels by the Property at least once a month.

       14.     Plaintiff’s access to the business(es) located 5795 N Sam Houston Parkway E,

Houston, TX      77032, Harris County Property Appraiser’s property identification number

0720240000151 (“the Property”), and/or full and equal enjoyment of the goods, services, foods,

drinks, facilities, privileges, advantages and/or accommodations offered therein were denied

and/or limited because of his disabilities, and he will be denied and/or limited in the future unless

and until Defendant, GARZA’S HOME RENTAL INC., is compelled to remove the physical

barriers to access and correct the ADA violations that exist at the Property, including those set

forth in this Complaint.

       15.     Defendant, GARZA’S HOME RENTAL INC., as property owner, is responsible

for complying with the ADA for both the exterior portions and interior portions of the Property.

Even if there is a lease between Defendant, GARZA’S HOME RENTAL INC., and the tenant



                                                  3
    Case 4:25-cv-00761         Document 1        Filed on 02/21/25 in TXSD          Page 4 of 19




allocating responsibilities for ADA compliance within the unit the tenant operates, that lease is

only between the property owner and the tenant and does not abrogate the Defendant’s

independent requirement to comply with the ADA for the entire Property it owns, including the

interior portions of the Property which are public accommodations. See 28 CFR § 36.201(b).

          16.   Plaintiff has visited the Property twice before as a customer and advocate for the

disabled. Plaintiff intends to revisit the Property within six months after the barriers to access

detailed in this Complaint are removed and the Property is accessible again. The purpose of the

revisit is to be a return customer to Little Caesars, to determine if and when the Property is made

accessible and to maintain the already existing standing for this lawsuit for Advocacy Purposes.

          17.   Plaintiff intends on revisiting the Property to purchase food and/or services as a

return customer living in the near vicinity as well as for Advocacy Purposes but does not intend

to re-expose himself to the ongoing barriers to access and engage in a futile gesture of visiting

the public accommodation known to Plaintiff to have numerous and continuing barriers to

access.

          18.   Plaintiff travelled twice to the Property as a customer and as an independent

advocate for the disabled, encountered the barriers to access the Property that are detailed in this

Complaint, engaged those barriers, suffered legal harm and legal injury, and will continue to

suffer such harm and injury as a result of the illegal barriers to access present at the Property.

          19.   Although Plaintiff may not have personally encountered each and every barrier to

access identified in Plaintiff’s Complaint, Plaintiff became aware of all identified barriers prior

to filing the Complaint and because Plaintiff intends on revisiting the Property as a customer and

advocate for the disabled within six months or sooner after the barriers to access are removed, it

is likely that despite not actually encountering a particular barrier to access on one visit, Plaintiff



                                                  4
   Case 4:25-cv-00761         Document 1        Filed on 02/21/25 in TXSD         Page 5 of 19




may encounter a different barrier to access identified in the complaint in a subsequent visit as,

for example, one accessible parking space may not be available and he would need to use an

alternative accessible parking space in the future on his subsequent visit. As such, all barriers to

access identified in the Complaint must be removed in order to ensure Plaintiff will not be

exposed to barriers to access and legally protected injury.

       20.     Plaintiff’s inability to fully access the Property and the stores within in a safe

manner and in a manner which inhibits the free and equal enjoyment of the goods and services

offered at the Property, both now and into the foreseeable future, constitutes an injury in fact as

recognized by Congress and is historically viewed by Federal Courts as an injury in fact.

                                     COUNT I
                         VIOLATIONS OF THE ADA AND ADAAG

       21.     On July 26, 1990, Congress enacted the Americans with Disabilities Act 42

U.S.C. § 12101 et seq.

       22.     Congress found, among other things, that:

       (i)     some 43,000,000 Americans have one or more physical or mental
               disabilities, and this number is increasing as the population as a whole is
               growing older;

       (ii)    historically, society has tended to isolate and segregate individuals with
               disabilities, and, despite some improvements, such forms of discrimination
               against individuals with disabilities continue to be a serious and pervasive
               social problem;

       (iii)   discrimination against individuals with disabilities persists in such critical
               areas as employment, housing public accommodations, education,
               transportation, communication, recreation, institutionalization, health
               services, voting, and access to public services;

       (iv)    individuals with disabilities continually encounter various forms of
               discrimination, including outright intentional exclusion, the discriminatory
               effects of architectural, transportation, and communication barriers,
               overprotective rules and policies, failure to make modifications to existing
               facilities and practices, exclusionary qualification standards and criteria,


                                                 5
   Case 4:25-cv-00761         Document 1        Filed on 02/21/25 in TXSD         Page 6 of 19




               segregation, and relegation to lesser service, programs, activities, benefits,
               jobs, or other opportunities; and

       (v)     the continuing existence of unfair and unnecessary discrimination and
               prejudice denies people with disabilities the opportunity to compete on an
               equal basis and to pursue those opportunities for which our free society is
               justifiably famous, and costs the United States billions of dollars in
               unnecessary expenses resulting from dependency and non-productivity.

42 U.S.C. § 12101(a)(1) - (3), (5) and (9).

       23.     Congress explicitly stated that the purpose of the ADA was to:

       (i)     provide a clear and comprehensive national mandate for the elimination of
               discrimination against individuals with disabilities;

       (ii)    provide a clear, strong, consistent, enforceable standards addressing
               discrimination against individuals with disabilities; and

               *****

       (iv)    invoke the sweep of congressional authority, including the power to
               enforce the fourteenth amendment and to regulate commerce, in order to
               address the major areas of discrimination faced day-to-day by people with
               disabilities.

42 U.S.C. § 12101(b)(1)(2) and (4).

       24.      The congressional legislation provided places of public accommodation one and

a half years from the enactment of the ADA to implement its requirements.

       25.     The effective date of Title III of the ADA was January 26, 1992 (or January 26,

1993 if a defendant has 10 or fewer employees and gross receipts of $500,000 or less). 42 U.S.C.

§ 12181; 28 C.F.R. § 36.508(a).

       26.     The Property is a public accommodation and service establishment.

       27.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal regulations to

implement the requirements of the ADA. 28 C.F.R. Part 36.



                                                 6
    Case 4:25-cv-00761         Document 1       Filed on 02/21/25 in TXSD         Page 7 of 19




       28.     Public accommodations were required to conform to these regulations by January

26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).

       29.     The Property must be, but is not, in compliance with the ADA and ADAAG.

       30.     Plaintiff has attempted to, and has to the extent possible, accessed the Property in

his capacity as a customer at the Property as well as an independent advocate for the disabled,

but could not fully do so because of his disabilities resulting from the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit his

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

       31.     Plaintiff intends to visit the Property again in the very near future as a customer

and as an independent advocate for the disabled, in order to utilize all of the goods, services,

facilities, privileges, advantages and/or accommodations commonly offered at the Property, but

will be unable to fully do so because of his disability and the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit his

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

       32.     Defendant, GARZA’S HOME RENTAL INC., has discriminated against Plaintiff

(and others with disabilities) by denying his access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Property, as prohibited

by, and by failing to remove architectural barriers as required by, 42 U.S.C. §



                                                 7
   Case 4:25-cv-00761          Document 1       Filed on 02/21/25 in TXSD          Page 8 of 19




12182(b)(2)(A)(iv).

       33.      Defendant, GARZA’S HOME RENTAL INC., will continue to discriminate

against Plaintiff and others with disabilities unless and until Defendant, GARZA’S HOME

RENTAL INC., is compelled to remove all physical barriers that exist at the Property, including

those specifically set forth herein, and make the Property accessible to and usable by Plaintiff

and other persons with disabilities.

       34.      A specific list of unlawful physical barriers, dangerous conditions and ADA

violations which Plaintiff experienced and/or observed, or was made aware of prior to the filing

of this Complaint, that precluded and/or limited Plaintiff’s access to the Property and the full and

equal enjoyment of the goods, services, facilities, privileges, advantages and accommodations of

the Property include, but are not limited to:

ACCESSIBLE ELEMENTS:

              i.   Nearest Suite 7, due to the presence of a gouge running the entire length of the

                   accessible route, the ground surfaces of the accessible route have vertical rises

                   in excess of ¼ (one quarter) inch in height, are not stable or slip resistant, have

                   broken or unstable surfaces or otherwise fail to comply with Sections 302 and

                   303 of the 2010 ADAAG standards. This gouge also creates an opening in

                   excess of ½ inch. This barrier to access would make it dangerous and difficult

                   for Plaintiff to access the units of the Property, as Plaintiff’s wheelchair could

                   get stuck in the opening and/or tip due to the vertical rise it causes.

             ii.   Nearest Pradera Western Wear, due to the presence of a gouge running the

                   entire length of the accessible route, the ground surfaces of the accessible

                   route have vertical rises in excess of ¼ (one quarter) inch in height, are not



                                                  8
Case 4:25-cv-00761       Document 1        Filed on 02/21/25 in TXSD        Page 9 of 19




             stable or slip resistant, have broken or unstable surfaces or otherwise fail to

             comply with Sections 302 and 303 of the 2010 ADAAG standards. This

             barrier to access would make it dangerous and difficult for Plaintiff to access

             the units of the Property. This gouge also creates an opening in excess of ½

             inch. This barrier to access would make it dangerous and difficult for Plaintiff

             to access the units of the Property, as Plaintiff’s wheelchair could get stuck in

             the opening and/or tip due to the vertical rise it causes.

      iii.   Nearest El Mexsal Taquiera, due to the presence of a gouge running the entire

             length of the accessible route, the ground surfaces of the accessible route have

             vertical rises in excess of ¼ (one quarter) inch in height, are not stable or slip

             resistant, have broken or unstable surfaces or otherwise fail to comply with

             Sections 302 and 303 of the 2010 ADAAG standards. This barrier to access

             would make it dangerous and difficult for Plaintiff to access the units of the

             Property. This gouge also creates an opening in excess of ½ inch. This barrier

             to access would make it dangerous and difficult for Plaintiff to access the

             units of the Property, as Plaintiff’s wheelchair could get stuck in the opening

             and/or tip due to the vertical rise it causes.

      iv.    There are no accessible parking spaces on the Property that have a sign

             designating an accessible parking space as “Van Accessible” in violation of

             Section 208.2.4 of the 2010 ADAAG standards and Section 502.6 of the 2010

             ADAAG standards. This barrier to access would make it difficult for Plaintiff

             to locate a van accessible parking space.




                                            9
Case 4:25-cv-00761       Document 1        Filed on 02/21/25 in TXSD         Page 10 of 19




        v.    In front of El Mexsal Taquiera, the accessible parking space has vertical rises

              in excess of ¼ inch and is in violation of Sections 303.2 and 502.4 of the 2010

              ADAAG standards. This barrier to access would make it dangerous and

              difficult for Plaintiff to exit and enter their vehicle while parked at the

              Property as well as make it difficult for Plaintiff to travel to the public

              accommodations offered at the Property.

       vi.    Due to a failure to enact a policy of proper parking lot maintenance, there is

              large gouge in the access aisle servicing the accessible parking space In front

              of El Mexsal Taquiera. As a result, the ground surfaces of the access aisle

              servicing the accessible space has vertical rises in excess of ¼ (one quarter)

              inch in height, are not stable or slip resistant, have broken or unstable surfaces

              or otherwise fail to comply with Sections 502.4, 302 and 303 of the 2010

              ADAAG standards. This barrier to access would make it dangerous and

              difficult for Plaintiff to access the units of the Property.

      vii.    The access aisle serving the accessible parking space in front of El Mexsal

              Taquiera, is not at the same level as the parking space it serves in violation of

              Section 502.4 of the 2010 ADAAG Standards. This barrier to access would

              make it difficult for Plaintiff to exit and enter their vehicle if parked at that

              accessible parking space.

      viii.   Due to a policy of not having parking stops for the parking spaces directly in

              front of the exterior access route, cars routinely pull up all the way to the curb

              and the "nose" of the vehicle extends into the access route causing the exterior

              access route to routinely have clear widths below the minimum thirty-six



                                             10
Case 4:25-cv-00761      Document 1        Filed on 02/21/25 in TXSD         Page 11 of 19




             (36") inch requirement specified by Section 403.5.1 of the 2010 ADAAG

             Standards. This barrier to access would make it dangerous and difficult for

             Plaintiff to access exterior public features of the Property as there is not

             enough clear width for Plaintiff’s wheelchair.

       ix.   Due to a policy of not having parking stops for the parking spaces directly in

             front of the exterior access route, cars routinely pull up all the way to the curb

             and the "nose" of the vehicle extends into the access route as a result, in

             violation of Section 502.7 of the 2010 ADAAG Standards, parking spaces are

             not properly designed so that parked cars and vans cannot obstruct the

             required clear width of adjacent accessible routes. This barrier to access would

             make it dangerous and difficult for Plaintiff to access exterior public features

             of the Property as there is not enough clear width for Plaintiff’s wheelchair.

       x.    There are changes in level in the Property exceeding ½ (one-half) inch that are

             not accessible ramped in violation of Section 303.4 of the 2010 ADAAG

             standards. Specifically, there is an approximately two-inch vertical rise in the

             accessible route leading from leading from the accessible parking space in

             front of El Mexsal Taquiera to the accessible entrances of the property, thus

             rendering the interior of the Property, at best, dangerously accessible, at worst,

             totally inaccessible. This barrier to access would make it dangerous and

             difficult for Plaintiff to access the units of the Property.

       xi.   Leading from the accessible parking space in front of El Mexsal Taquiera, to

             the accessible entrances, due to a three inch vertical rise and a wall protruding

             into the accessible route decreasing the clear width to less than 32 inches,



                                            11
Case 4:25-cv-00761       Document 1        Filed on 02/21/25 in TXSD        Page 12 of 19




              there is a lack of an accessible route leading from the accessible parking space

              to the accessible entrances. As a result, there are publicly accessible areas of

              the Property having accessible routes with clear widths below the minimum

              36 (thirty-six) inch requirement as required by Section 403.5.1 This barrier to

              access would make it dangerous for Plaintiff to access the rest of the units of

              the Property as Plaintiff’s wheelchair would not be able to get past this barrier.

      xii.    As a result of the barriers to access referenced in “x” and “xi”, the Property

              lacks an accessible route from the accessible parking space to the accessible

              entrance of the Property in violation of Section 208.3.1 of the 2010 ADAAG

              standards. This barrier to access would make it difficult for Plaintiff to access

              the units of the Property.

      xiii.   In front of Nee Hao restaurant, the accessible parking space has a slope in

              excess of 1:48 in violation of Section 502.4 of the 2010 ADAAG standards

              and is not level. This barrier to access would make it dangerous and difficult

              for Plaintiff to exit and enter their vehicle while parked at the Property as

              Plaintiff’s wheelchair may roll down the slope while entering or exiting the

              vehicle.

      xiv.    In front of Nee Hao restaurant, the accessible parking space does not have a

              marked access aisle in violation of Section 502.3.3 of the 2010 ADAAG

              standards. This barrier to access makes it nearly impossible for an individual

              in a wheelchair to enter and exit their vehicle at this accessible parking space

              due to the close presence of parked vehicles on either side of the accessible




                                            12
Case 4:25-cv-00761       Document 1        Filed on 02/21/25 in TXSD         Page 13 of 19




              parking space not providing enough room for the wheelchair, this eliminates

              the accessible route from this accessible parking space.

       xv.    In front of Nee Hao restaurant, the accessible parking space is missing an

              identification sign in violation of Section 502.6 of the 2010 ADAAG

              standards. This barrier to access would make it difficult for Plaintiff to locate

              an accessible parking space.

      xvi.    In front of Nee Hao Restaurant, there are changes in level in the Property

              exceeding ½ (one-half) inch that are not accessible ramped in violation of

              Section 303.4 of the 2010 ADAAG standards. Specifically, there is an

              approximately two-inch vertical rise in the accessible route leading from

              leading from the accessible parking space in front of Nee Hao Restaurant to

              the accessible entrances of the property, thus rendering the interior of the

              Property, at best, dangerously accessible, at worst, totally inaccessible. This

              barrier to access would make it dangerous and difficult for Plaintiff to access

              the units of the Property.

     xvii.    Due to the barriers to access identified in “xiv” and “xvi” above, in front of

              Nee Hao restaurant, the Property lacks an accessible route from the accessible

              parking space to the accessible entrance of the Property in violation of Section

              208.3.1 of the 2010 ADAAG standards. This barrier to access would make it

              difficult for Plaintiff to access the units of the Property.

     xviii.   As a result of the barriers to access referenced in “x”, “xi”, “xiv” and “xvi”

              above, the Property lacks an accessible route from accessible parking spaces,

              accessible passenger loading zones, public streets, sidewalks and/or public



                                             13
 Case 4:25-cv-00761       Document 1        Filed on 02/21/25 in TXSD          Page 14 of 19




               transportation stops to the accessible entrance of the Property in violation of

               Section 206.2.1 of the 2010 ADAAG standards. This barrier to access would

               make it difficult for Plaintiff to access the units of the Property.

       xix.    Defendant fails to adhere to a policy, practice and procedure to ensure that all

               facilities are readily accessible to and usable by disabled individuals.

EL MEXSAL TAQUIERA RESTROOMS

        xx.    The restroom lacks signage in compliance with Sections 216.8 and 703 of the

               2010 ADAAG standards. This barrier to access would make it difficult for

               Plaintiff and/or any disabled individual to locate accessible restroom facilities.

       xxi.    The door locking hardware providing access to the restrooms requires tight

               grasping and twisting of the wrist in violation of Section 404.2.7 of the 2010

               ADAAG standards. This barrier to access would make it difficult for Plaintiff

               and/or any disabled individual to utilize the restroom facilities.

      xxii.    The door to the restrooms has a maximum clear width below 32 (thirty-two)

               inches in violation of Section 404.2.3 of the 2010 ADAAG standards. This

               barrier to access would make it difficult for Plaintiff and/or any disabled

               individual to safely utilize the restroom facilities as wheelchair typically has a

               clear width of between 30 and 32 inches and the wheelchair will not be able to

               fit through the doorway to access the restroom. In the case that the wheelchair

               may barely fit through, the tight doorway would likely injure Plaintiff’s hands

               as they could get caught between the wheel and the doorway.

      xxiii.   The height of the bottom edge of the reflective surface of the mirror in the

               bathroom is above the 40-inch maximum height permitted by Section 603.3 of



                                             14
Case 4:25-cv-00761      Document 1        Filed on 02/21/25 in TXSD        Page 15 of 19




             the 2010 ADAAG standards. This barrier to access would make it difficult for

             the Plaintiff and/or any disabled individual to properly utilize the mirror in the

             restroom since Plaintiff is sitting in a wheelchair and is lower than a person

             standing up.

     xxiv.   The actionable mechanism of the paper towel dispenser in the restroom is

             located outside the maximum prescribed vertical reach range of 48 inches

             above the finished floor as set forth in Section 308.2.1 of the 2010 ADAAG

             standards. This barrier to access would make it difficult for Plaintiff and/or

             any disabled individual to reach the actionable mechanism of the paper towel

             dispenser as individuals in wheelchairs are seated and have significantly less

             reach range than individuals who stand up.

     xxv.    Restrooms have a sink with inadequate knee and toe clearance in violation of

             Section 306 of the 2010 ADAAG standards. This barrier to access would

             make it difficult for Plaintiff and/or any disabled individual to utilize the

             restroom sink as Plaintiff is seated in a wheelchair and, when seated,

             Plaintiff’s feet and legs protrude out in front. In order to properly utilize a

             sink, Plaintiff’s legs must be able to be underneath the surface of the sink, but

             due to the improper configuration of the sink, there is no room underneath for

             Plaintiff’s legs and feet.

     xxvi.   Due to a policy of keeping the trash receptacle under the sink, the restrooms

             have a sink with inadequate knee and toe clearance in violation of Section 306

             of the 2010 ADAAG standards. This barrier to access would make it difficult

             for Plaintiff and/or any disabled individual to utilize the restroom sink as



                                           15
Case 4:25-cv-00761       Document 1       Filed on 02/21/25 in TXSD          Page 16 of 19




              Plaintiff is seated in a wheelchair and, when seated, Plaintiff’s feet and legs

              protrude out in front. In order to properly utilize a sink, Plaintiff’s legs must

              be able to be underneath the surface of the sink, but due to the improper

              configuration of the sink, there is no room underneath for Plaintiff’s legs and

              feet.

    xxvii.    The clear floor space of the sink is blocked by a policy of placing a trash can

              in the clear floor space in violation of Section 606.2 of the 2010 ADAAG

              standards. This barrier to access would make it difficult for the Plaintiff and/or

              any disabled individual to safely utilize the restroom facilities.

    xxviii.   The required grab bars/handrails adjacent to the commode are missing and

              violate Section 604.5 of the 2010 ADAAG standards. This barrier to access

              would make it difficult for Plaintiff and/or any disabled individual to safely

              transfer from the wheelchair to the toilet and back to the wheelchair.

     xxix.    The interior of the restroom has a clear turning space of less than 60 inches in

              diameter. As a result, there is inadequate clear turning space in violation of

              Section 603.2.1 of the 2010 ADAAG standards. This barrier to access would

              make it difficult for Plaintiff and/or any disabled individual to safely utilize

              the restroom facilities.

      xxx.    The toilet paper dispenser serving the accessible toilet is not positioned seven

              to nine inches in front of the toilet and therefore is in violation of Section

              604.7 of the 2010 ADAAG standards. This barrier to access would make it

              difficult for Plaintiff to utilize the toilet due to the fact the toilet paper

              dispenser is at an improper distance from the toilet, given Plaintiff’s disability,



                                            16
   Case 4:25-cv-00761          Document 1        Filed on 02/21/25 in TXSD          Page 17 of 19




                     Plaintiff would not be able to get up and reach the toilet paper.

          xxxi.      The distance of the centerline of the toilet is more than 18” from the side wall.

                     As a result, the toilet is not adequately positioned from the side wall or

                     partition positioning in violation of Section 604.2 of the 2010 ADAAG

                     standards. This barrier to access would make it difficult for Plaintiff and/or

                     any disabled individual to safely utilize the restroom facilities.

       35.        The violations enumerated above may not be a complete list of the barriers,

conditions or violations encountered by Plaintiff and/or which exist at the Property.

       36.        Plaintiff requires an inspection of the Property in order to determine all of the

discriminatory conditions present at the Property in violation of the ADA.

       37.        The removal of the physical barriers, dangerous conditions and ADA violations

alleged herein is readily achievable and can be accomplished and carried out without significant

difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R. § 36.304.

       38.        All of the violations alleged herein are readily achievable to modify to the

Property into compliance with the ADA.

       39.        Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because the nature and cost of

the modifications are relatively low.

       40.        Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because Defendant, GARZA’S

HOME RENTAL INC., has the financial resources to make the necessary modifications.

According to the Property Appraiser, the collective appraised value of the two parcels

comprising the Property is $794,860.00.



                                                   17
   Case 4:25-cv-00761         Document 1        Filed on 02/21/25 in TXSD        Page 18 of 19




       41.     The removal of the physical barriers and dangerous conditions present at the

Property is also readily achievable because Defendant, GARZA’S HOME RENTAL INC., has

available to it a $5,000.00 tax credit and up to a $15,000.00 tax deduction from the IRS for

spending money on accessibility modifications.

       42.     Upon information and good faith belief, the Property has been altered since 2010.

       43.     In instances where the 2010 ADAAG standards do not apply, the 1991 ADAAG

standards apply, and all of the alleged violations set forth herein can be modified to comply with

the 1991 ADAAG standards.

       44.     Plaintiff is without adequate remedy at law, is suffering irreparable harm, and

reasonably anticipates that he will continue to suffer irreparable harm unless and until Defendant,

GARZA’S HOME RENTAL INC., is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Property, including those alleged herein.

       45.     Plaintiff’s requested relief serves the public interest.

       46.     The benefit to Plaintiff and the public of the relief outweighs any resulting

detriment to Defendant, GARZA’S HOME RENTAL INC.

       47.     Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees and costs of

litigation from Defendant, GARZA’S HOME RENTAL INC., pursuant to 42 U.S.C. §§ 12188

and 12205.

       48.     Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant

injunctive relief to Plaintiff, including the issuance of an Order directing Defendant, GARZA’S

HOME RENTAL INC., to modify the Property to the extent required by the ADA.

       WHEREFORE, Plaintiff prays as follows:




                                                 18
Case 4:25-cv-00761     Document 1       Filed on 02/21/25 in TXSD         Page 19 of 19




   (a)   That the Court find Defendant, GARZA’S HOME RENTAL INC., in violation of

         the ADA and ADAAG;

   (b)   That the Court issue a permanent injunction enjoining Defendant, GARZA’S

         HOME RENTAL INC., from continuing their discriminatory practices;

   (c)   That the Court issue an Order requiring Defendant, GARZA’S HOME RENTAL

         INC. to (i) remove the physical barriers to access and (ii) alter the Property to

         make it readily accessible to and useable by individuals with disabilities to the

         extent required by the ADA;

   (d)   That the Court award Plaintiff his reasonable attorneys' fees, litigation expenses

         and costs; and

   (e)   That the Court grant such further relief as deemed just and equitable in light of the

         circumstances.

                                       Dated: February 21, 2025

                                       Respectfully submitted,

                                       /s/ Douglas S. Schapiro
                                       Douglas S. Schapiro, Esq.
                                       Southern District of Texas ID No. 3182479
                                       The Schapiro Law Group, P.L
                                       7301-A W. Palmetto Park Rd., #100A
                                       Boca Raton, FL 33433
                                       Tel: (561) 807-7388
                                       Email: schapiro@schapirolawgroup.com




                                          19
